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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISON

JYQWAVOUS WHITAKER,                                  )
                                                     )
                          Plaintiff,                 )
                                                     )
v.                                                   )
                                                     )     CIVIL ACTION NO.
SHERIFF VICTOR HILL, in his individual               )
And official capacities, as Sheriff of Clayton       )
County Georgia and RAYMON SHEROD                     )     1:21-cv-03781-AT-JSA
WINN, in his individual capacity, as a Clayton       )
County Deputy Sherriff                               )
                                                     )
                          Defendants.                )
                                                     )

            PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       COMES NOW Plaintiff JYQWAVIOUS WHITAKER, (hereinafter referred

to as Plaintiff), by and through his counsel of record and files this his RESPONSE

IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S

COMPLAINT. Plaintiff states as follows:

       I.    PROCEDURAL BACKGROUND

       The Plaintiff filed this action on September 13, 2021, alleging violations of

his constitutional and federal civil rights as effectuated through 42 USC § 1983, as

well as assertions that the Defendants committed state law violations. The initial

complaint attached six (6) exhibits including photographic evidence of the results

of a physical beating Plaintiff suffered at the hands of Defendant Raymon Sherod
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Winn (hereinafter referred to as “Defendant Winn”), while being housed at the

Clayton County jail as a pre-trial detainee. Defendant Winn answered the

Complaint on November 11, 2021 [Doc. 6] and subsequently filed an Amended

Answer on December 2, 2021 [Doc. 10]. Defendant Winn’s Amended Answer

raises the affirmative defense that the Plaintiff has not exhausted his available

administrative remedies under the Prisoner Litigation Reform Act of 1995 (PLRA),

42 U.S.C. § 1997e(a).1 On the same date, Defendant Winn filed a Motion to

Dismiss the Complaint [Doc. 11].

      Defendant Winn’s Motion to Dismiss the Complaint is predicated on the

factual allegation that, prior to filing his Complaint in this case, the Plaintiff did

not exhaust his available administrative remedies at the facility in which he is

detained, i.e., the Clayton County jail. He alleges that this court lacks subject

matter jurisdiction to hear the Plaintiff’s Complaint pursuant to Fed. R. Civ. P.

12(b) based upon the PLRA. On December 23, 2021, Plaintiff amended his

Complaint as a matter of course pursuant to Fed. R. Civ. P. 15(a)(1)(B) [Doc. 13]

to address the assertion raised in Defendant Winn’s Amended Answer and his

Motion to Dismiss the Complaint that he had not exhausted all available

administrative remedies prior to filing the Complaint in this action. With the filing

of his Amended Complaint, Plaintiff has added a seventh and eighth exhibit to his



1
      Defendant Winn’s Fourth Affirmative Defense.
                                                     2
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pleadings, to include his declaration and the declaration of his mother, Carlitha

Whitaker. These exhibits specifically address Defendant Winn’s Amended

Answer and the allegation that the Plaintiff has not exhausted all available

administrative remedies, as required by the PLRA.

      II.      FACTUAL BACKGROUND

      On September 12, 2019, Plaintiff was a pre-trial detainee in the Clayton

County jail. (See Complaint at ¶ 9). On this date, at approximately 10:30AM,

Plaintiff was brutally and savagely assaulted by Defendant Winn without reason or

provocation. (See Complaint at ¶ 10).2

      Defendant Winn’s actions resulted in Plaintiff’s loss of consciousness,

serious bruises, contusions and other injuries, including Plaintiff’s braces being

imbedded in his lips due to Defendant Winn’s blows to his face and head. (See

Complaint at ¶ 20 and [Docs 1-1, 1-2 and 1-3]3. After the assault, Plaintiff was

administratively sentenced to a minimum of four hours in the restraint chair,

administrative segregation, and three days of nutri-loaf. (See Complaint at ¶ 21,

and [Doc. 1-1])

      As a result of the assault by Defendant Winn, Plaintiff’s skull was X-rayed

for possible skull fracture. [Doc. 1-2]. Plaintiff was strapped to the restraint chair


2
      See Declaration of Jyqwavous Whitaker at ¶ 7.
3
      See Declaration of Jyqwavous Whitaker at ¶ 11).

                                                      3
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and then spent one to two days in the infirmary.4 Plaintiff was housed in the

medical ward for approximately one to two days for treatment and observation and

monitoring for swelling of the brain.5 The Plaintiff was able to communicate to his

mother what had happened to him.6 She filed an Internal Affairs Complaint about

the incident with the Clayton County Jail.7

      While in the hole, Defendant Winn visited the Plaintiff on a daily basis to

deliver his serving tray, ordering him to clean his cell and threatening to tell other

detainees he is a snitch and calling him a sissy for calling his mom.8

      An officer removed Plaintiff from the hole and took him to see Lieutenant

Thomas where the Plaintiff penned a statement as to what happened to him.9

Plaintiff met with Lieutenant Thomas of the Scorpion Team for five to ten minutes.

Lieutenant Thomas asked Plaintiff what happened on September 12, 2019, and the

Plaintiff told him the truth of what had happened to him.10 Plaintiff spent a total of

thirty-nine (39) days in the hole.11



4
      See Declaration of Jyqwavous Whitaker at ¶ 14.
5
      See Declaration of Jyqwavous Whitaker at ¶ 18.
6
      See Declaration of Jyqwavous Whitaker at ¶ 18.
7
      See Declaration of Jyqwavous Whitaker at ¶ 17 and at Exhibit “B”.
8
      See Declaration of Jyqwavous Whitaker at ¶ 19.
9
      See Declaration of Jyqwavous Whitaker at ¶ 22.
10
      See Declaration of Jyqwavous Whitaker at ¶¶ 22 - 26.
11
      See Declaration of Jyqwavous Whitaker at ¶ 26.
                                                       4
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      During the thirty-nine (39) days Plaintiff spent in the hole, he did not have

access to the kiosk where grievances are purportedly submitted. When Plaintiff

was released from the hole after thirty-nine (39) days, he participated in orientation

again.12 The orientation process consisted of directions about how to follow the

rules, such as obeying officers and when beds should be made.13 Orientation did

not consist of any directions regarding the grievance procedure, and the statements

of Sgt. Kali Huitt to the contrary are not true.14

      III.    ARGUMENT AND CITATION TO AUTHORITY

              A. The Motion to Dismiss Legal Standard

      Federal Rule of Civil Procedure 8(a)(2) requires a pleading to contain a

“short and plain statement of the claim showing that the pleader is entitled to

relief.” While this standard does not require “detailed factual allegations,” the

Supreme Court has held that “labels and conclusions” or “a formulaic recitation

of the elements of a cause of action will not do.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

      To withstand a motion to dismiss for failure to state a claim under Federal

Rule of Civil Procedure 12(b)(6), “a complaint must [ ] contain sufficient factual


12
      See Declaration of Jyqwavous Whitaker at ¶ 27.
13
      See Declaration of Jyqwavous Whitaker at ¶ 27.
14
      See Declaration of Jyqwavous Whitaker at ¶ 28 - 29.


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matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1289 (11th Cir. 2010) (quoting

Twombly, 550 U.S. at 570). A complaint is plausible on its face when a plaintiff

pleads sufficient factual content for the Court to draw the reasonable inference that

the defendant is liable for the conduct alleged. Am. Dental Ass’n, 605 F.3d at 1289

(citing Twombly, 550 U.S. at 556). At the motion to dismiss stage, “all well-

pleaded facts are accepted as true, and the reasonable inferences therefrom are

construed in the light most favorable to the plaintiff.” FindWhat Inv’r Grp. v.

FindWhat.com, 658 F.3d 1282, 1296 (11th Cir. 2011) (quoting Garfield v. NDC

Health Corp., 466 F.3d 1255, 1261 (11th Cir. 2006)). In ruling on a motion to

dismiss the Court is required to consider the parties’ pleadings and any exhibits

attached to the pleadings and must accept the allegations in the Plaintiff’s

pleadings as true and draw all reasonable inferences in the Plaintiff’s favor.

Whatley v. Smith, 898 F.3d 1072, 1082 (11th Cir. 2018); Geter v. Baldwin State

Prison, 974 F.3d 1348 (11th Cir. 2020).

             B. The Eleventh Circuit Has Established a 2-Step Process for
                Determining Whether Administrative Remedies at a Detention
                Facility Were Available to a Plaintiff Regarding an Incident that is
                Complained Of

      Defendant Winn’s Motion to Dismiss proceeds on the fact-based allegations

that: (1) the Clayton County Jail provided an available means of filing an

administrative grievance to the Plaintiff, on September 12, 2019 and for the five
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day period thereafter, in which he could have filed a timely grievance; and (2) the

fact that the Plaintiff failed to avail himself of the opportunity to file an

administrative grievance in accordance with the procedures provided. In support

of these allegations Defendant Winn has submitted the declaration of Clayton

County Sgt. Kali Huitt.

      Sgt. Huitt declares that: (a) the Clayton County Jail (“the CCJ”) maintains a

standard grievance procedure (“the Grievance SOP”)15; (b) detainees and inmates

at the CCJ are informed and educated about the Grievance SOP during orientation

and intake and that CCJ staff are always available to answer questions16; and (c)

detainees and inmates are informed that they must use the Kiosk system to

electronically submit grievances after attempting to resolve the grievance

informally through discussion with an officer.17 Finally, Sgt. Huitt states that

Plaintiff has filed only one grievance, dated March 9, 2019, during the period

1/1/2019 – 12/31/2020.18

      Sgt. Huitt’s declaration is diametrically contradicted by the declaration of

the Plaintiff. The Plaintiff states that he has never been informed of the grievance



15
      Kali Huitt Declaration at ¶ 3.
16
      Kali Huitt Declaration at ¶ 4.
17
      Kali Huitt Declaration at ¶¶ 5 and 6.
18
      Kali Huitt Declaration at ¶ 7.

                                              7
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procedure at the jail, by jail staff through orientation and intake.19 He states that

immediately after he was assaulted he was placed in the “hole” for 39 days and

was without access to the kiosk system.20 He also states that during the month of

September 2019 there was no grievance officer in his pod.21 The declaration of

Jyqwavous Whitaker directly contradicts the declarations of Sgt. Kali Huitt at

paragraphs 4 – 6 of Sgt. Huitt’s declaration.

      It should also be noted that Sgt. Huitt’s declaration, at paragraph 3 makes the

broad general declaration that “[d]etainees and inmates at the CCJ are informed

and educated about the Grievance SOP during orientation and intake”. He

delineates no basis as to how he could know that every detainee or inmate in the

CCJ receives information and education on the Grievance SOP. He provides no

basis or foundation from which to determine how he could make such a statement

from his own personal knowledge.

      “An affidavit or declaration used to support or to oppose a motion must be

made on personal knowledge, set out facts that would be admissible in evidence,

and show that the affiant or declarant is competent to testify on the matters stated”.

Fed. R. Civ. P. 56(c)(4); Levinson v. Landsafe Appraisal Servs., Inc. (11th Cir.




19
      Jyqwavous Whitaker Declaration at ¶¶ 28 and 29.
20
      Jyqwavous Whitaker Declaration at ¶ 30.
21
      Jyqwavous Whitaker Declaration at ¶¶ 30 and 31.
                                            8
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2014). Because Kali Huitt’s declaration fails to lay a foundation as to how he

could know of his own personal knowledge that every CCJ detainee or inmate is

instructed and educated on the CCJ Grievance SOP his affidavit is insufficient as a

matter of law to create a material fact that the CCJ Grievance SOP is available to

all detainees and inmates.

      The written Grievance SOP which is attached to Kali Huitt’s declaration as

Exhibit 1 states that it was first created in 1986 and last updated September 6,

2011, eight years before the incident at issue. It provides for a procedure that is

not the procedure stated in Kali Huitt’s declaration. The written Grievance SOP

speaks of the inmate placing a Grievance Form in a Grievance Box mounted in

his/her Housing Unit with the Grievance Officer collecting all Grievance Forms

during each shift. [Doc. 11-2, p. 4]. Whereas, Kali Huitt describes the current

Grievance SOP as requiring a detainee to submit his grievance to an electronic

kiosk. (Kali Huitt declaration at ¶¶ 5 and 6).

      The procedure stated in the official written Grievance SOP contradicts the

grievance procedure described in Kali Huitt’s declaration. There is a disconnect

between the official written Grievance SOP and the unwritten, presumably

unofficial procedures, he describes in his declaration. It is unclear from Kali

Huitt’s declaration as to which grievance procedure he claims detainees receive

orientation on, the written official Grievance SOP, last updated 10 years ago, or the


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unofficial and unwritten kiosk procedure he describes in his declaration as being

the current grievance procedure.

         More particularly Kali Huitt’s declaration lacks any specific particularity as

to the Plaintiff. It does not state when or by whom the Plaintiff was instructed or

educated on the CCJ Grievance SOP; whether he was provided a written copy of

the CCJ Grievance SOP, and if so, when, and who provided it; nor does he state

when the kiosk system was initiated and whether a kiosk was located in the

housing unit occupied by the Plaintiff on September 12, 2019, which is not the

same housing unit he was housed in on March 9, 2019; nor does he state whether

the Plaintiff was instructed and educated on the use of the kiosk system. Kali

Huitt’s generalized and conclusory declaration that detainees are instructed and

educated on use of the kiosk system fails to set forth facts sufficient to conclude

that the grievance system was available to the Plaintiff in his particular housing

unit on September 12, 2019.22

         Nor does his declaration account for the fact that the Plaintiff was placed in

administrative segregation immediately after the incident for 39 days. (See

Amended Complaint Exhibit “7”, Plaintiff’s declaration at ¶ 26). No mention is

made in his declaration as to how a detainee placed in administration segregation is


22
         Since there is a divergence between the written Grievance SOP and the method described in Sgt. Huitt’s
declaration there is a factual gap not described in the record as to when the electronic kiosk system was implemented
and whether it was available and operable in the Plaintiff’s particular housing unit on the date of the incident
complained.
                                                         10
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able to physically access the kiosk system. If, as the Plaintiff states in his

declaration, he had no access to the kiosk system while in administrative

segregation, then there was no physical availability on the part of the Plaintiff to

file an administrative grievance. (See Amended Complaint Exhibit “7”, Plaintiff’s

declaration at ¶ 30).

      The failure to exhaust administrative remedies is an affirmative defense. The

burden therefore is on the defendant to show that the plaintiff has not exhausted

properly his administrative remedies. See Jones v. Bock, 549 U.S. 199, 216, 127

S.Ct. 910, 166 L.Ed.2d 798 (2007); Whatley v. Smith, 898 F.3d 1072 (11th Cir.

2018). Because the factual allegations of Sgt. Huitt’s declaration as to the

availability of an administrative remedy are directly contradicted by the declaration

of the Plaintiff, Defendant Winn has failed to carry his burden that the Plaintiff has

not properly exhausted his available administrative remedies. Id.; see also Turner

v. Burnside , 541 F.3d 1077, 1084 (11th Cir. 2008).

      The Eleventh Circuit has decided that district courts must follow the two-

step process outlined in Turner when considering whether dismissal for failure to

exhaust is appropriate under Fed. R. Civ. P. 12(b)(6). Under Turner, the district

court first "looks to the factual allegations in the defendant’s motion to dismiss and

those in the plaintiff’s response, and if they conflict, takes the plaintiff’s version of

the facts as true." Turner, 541 F.3d at 1082; Whatley v. Smith, supra.


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      At step two of the Turner analysis, the district court must "make specific

findings in order to resolve the disputed factual issues related to exhaustion," with

the burden of proof remaining on the defendant to show "that the plaintiff has

failed to exhaust his available administrative remedies." Id. After making specific

findings of fact, the district court "then decides whether under those findings the

prisoner has exhausted his available administrative remedies." Id. at 1083.

      Even if the Court were to accept the facts as stated in Sgt. Kali Huitt’s

declaration that the CCJ maintained a standard grievance procedure and that the

Plaintiff was instructed on the use of the procedure, Defendant Winn nevertheless

fails to carry his burden of proof on the issue as to whether the Plaintiff failed to

exhaust his administrative remedies. The inescapable conclusion that must be

reached from the conflicting declarations submitted on behalf of the parties, when

taking the Plaintiff’s version as true, is that the Plaintiff had no available

administrative remedies within the five-day period after the beating he suffered on

September 12, 2019 because: (1) he was in administrative segregation for the 39-

day period afterwards, without physical access to the electronic kiosk portal from

which to make a grievance; and (2) there was no grievance officer in his pod to

answer any questions or to complain about the lack of a method to make a

grievance.




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      These facts are uncontradicted in the record of this case and, therefore, in the

context of a motion to dismiss, even if contradicted, which they are not, must be

accepted as true together with any reasonable inferences therefrom. Geter v.

Baldwin State Prison, supra. Under the two-step Turner analysis, the Defendant’s

motion to dismiss must be denied.

             C. The Plaintiff Had No Available Administrative Remedies Under
                the Analytical Framework Set Forth in the United States Supreme
                Court Decision in Ross v. Blake

      The Supreme Court has provided an overarching framework for evaluating

the "availability" of administrative remedies in Ross v. Blake, ___ U.S. ___, 136 S.

Ct. 1850, 195 L.Ed.2d 117 (2016). The Court in Ross enumerated three

circumstances in which administrative remedies were unavailable under the PLRA:

(1) when the administrative procedure "operates as a simple dead end—with

officers unable or consistently unwilling to provide any relief to aggrieved

inmates"; (2) where the administrative scheme is "so opaque that it becomes...

incapable of use... [and] no ordinary prisoner can discern or navigate it"; and (3)

when "prison administrators thwart inmates from taking advantage of a grievance

process through machination, misrepresentation, or intimidation." Id. at 1859– 60.

      Although all three Ross factors are at play in light of the Plaintiff’s

declaration, we will only highlight the third factor for purposes of the Defendant’s

motion to dismiss. The Plaintiff avers and declares that use of the grievance


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procedure to complain about mistreatment at the hands of jail administrators and

staff will make you a marked man. He alleges that he has suffered assaults at the

hands of jail personnel on no less than three occasions.23 He alleges that each time

he was assaulted he was given disciplinary punishment. The last such occasion,

occurring on September 12, 2019, resulted in the filing of the instant Complaint.

      He further alleges that the grievance system at the jail is used to label

detainees as troublemakers if they use the system to report serious infractions by

jail staff.24 He states that Defendant Winn threatened to tell other “higher status

detainees” that he was a snitch to set him up for an assault by other detainees.25 He

also states that after being called to an interview with Lieutenant Thomas, wherein

he refused to recant what he had told his mother about how he was assaulted by

Defendant Winn, he was returned to administrative segregation as punishment and

intimidation.26 Taken together these statements and the reasonable inferences that

can be drawn from them indicate an attempt on the part of Clayton County jail

personnel to intimidate and threaten the Plaintiff from making an outcry grievance

about how he was treated by Defendant Winn on September 12, 2019.




23
      Jyqwavous Whitaker Declaration at ¶¶ 3 - 8.
24
      Jyqwavous Whitaker Declaration at ¶ 34.
25
      Jyqwavous Whitaker Declaration at ¶¶ 19 and 20.
26
      Jyqwavous Whitaker Declaration at ¶ 26.
                                            14
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      Clearly then, given the statements of intimidation and threats made directly

to him by Defendant Winn and the fact that he was punished for not recanting the

statements he made to his mother, the administrative grievance procedures were

not made available to the Plaintiff due to the “machination[s], misrepresentation[s],

or intimidation[s]” of Clayton County jail personnel. Resultingly, the third element

of the Ross factors is demonstrated by, and evidenced by, the record in this case.

See also, Geter v. Baldwin State Prison, supra.

      The Eleventh Circuit has joined several other federal appellate circuits

which hold that retaliation, or the threat of retaliation, can make an administrative

remedy unavailable. Turner v. Burnside, 541 F.3d 1077, at 1084 (11th Cir. 2008).

There the Court stated:

             We conclude that a prison official's serious threats of substantial
      retaliation against an inmate for lodging or pursuing in good faith a
      grievance make the administrative remedy "unavailable," and thus lift the
      exhaustion requirement as to the affected parts of the process if both of these
      conditions are met: (1) the threat actually did deter the plaintiff inmate from
      lodging a grievance or pursuing a particular part of the process; and (2) the
      threat is one that would deter a reasonable inmate of ordinary firmness and
      fortitude from lodging a grievance or pursuing the part of the grievance
      process that the inmate failed to exhaust. Turner v. Burnside, at 1085.

A prison official threatening to tell other inmates in a gang infested jail that a

particular detainee is a snitch is that type of threat that would deter a reasonable

detainee of ordinary firmness and fortitude from lodging a grievance. The Plaintiff

declared in his declaration that “[b]ecause of the threats made against me by


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Raymon Winn, I did not want to aggravate the situation more by filing a grievance

which I could not file anyway because of the fact that there was no grievance

officer or kiosk in my pod.”27

      The record evidence in this case is that there were direct threats made to the

Plaintiff, by Defendant Winn, subsequent to the beating he endured at the hands of

Defendant Winn, the perpetrator of the beating.28 There is further evidence in the

record that the threats by Defendant Winn discouraged the Plaintiff from filing a

grievance concerning the beating he suffered at the hands of Defendant Winn.29

Additionally, there is evidence in the record that use of the grievance system to

report serious misbehavior on the part of jail personnel will set a jail detainee up as

a target to be physically retaliated against by other jail detainees.30

      IV.    CONCLUSION

      Defendant Winn’s motion to dismiss should be denied for the reason that the

Plaintiff never had the opportunity or the availability to file an administrative

grievance because the system for doing so is electronic and dependent upon access

to an electronic portal that the Plaintiff never had access to during the period of

time that he could timely do so. Further, the Plaintiff was dissuaded from filing a


27
      Jyqwavous Whitaker Declaration at ¶ 32.
28
      Jyqwavous Whitaker Declaration at ¶ 19.
29
      Jyqwavous Whitaker Declaration at ¶ 32.
30
      Jyqwavous Whitaker Declaration at ¶ 35.
                                            16
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grievance due to the serious threats of retaliation made directly to him by

Defendant Winn. For the foregoing reasons, Defendant Winn’s Motion to Dismiss

Plaintiff’s Complaint should be DENIED.

      This 23rd day of December 2021.

                                              Respectfully submitted,
                                              WAYNE B. KENDALL, P.C.

                                              /s/ Wayne B. Kendall
                                              Wayne B. Kendall
                                              GA Bar No. 414076
                                              /s/ Kimberly A. Ellison
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                          CERTIFICATE OF SERVICE

      This is to certify that I served the foregoing Plaintiff’s Response in

Opposition to Defendant’s Motion to Dismiss Complaint upon the named

Defendants by regular mail, postage prepaid to be delivered to the following

mailing addresses:

                          A. Ali Sabzevari
                          Jack R. Hancock
                          Freeman Mathis & Gary, LLP
                          661 Forest Parkway; Suite E
                          Forest Park, Georgia 30297

                          Victor Hill
                          335 Bear Creek Trail
                          Hampton, Georgia 30228


      Respectfully submitted, this 23rd day of December 2021.

                                              WAYNE B. KENDALL, P.C.

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